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  DISTRICT COURT, ARAPAHOE COUNTY,
  STATE OF COLORADO
  7325 S. Potomac Street                                     DATE FILED: June 19, 2018 3:04 PM
  Centennial, CO 80112                                       FILING ID: 8F6B1AFFE0CA3
  _____________________________________________              CASE NUMBER: 2018CV31449


  Plaintiff:    LUZ BUITRAGO

  v.

  Defendant:    ALLSTATE FIRE AND CASUALTY
                INSURANCE COMPANY
                                                                 COURT USE ONLY 
  _____________________________________________                 ______________________
  Attorneys for Plaintiff:
  Jason W. Jordan, Atty. No. 37263
  Michael S. Douglass-Harris, Atty. No. 43916                  Case Number:
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                            COMPLAINT AND JURY DEMAND


         Plaintiff, Luz Buitrago, by and through her attorneys, JORDAN LAW and MANNING LAW,
  for her Complaint and Jury Demand against Defendant Allstate Fire and Casualty Insurance
  Company, ("Allstate"), states and alleges as follows:

                         PARTIES, JURISDICTION, AND VENUE

          1.   Plaintiff is a resident of Arapahoe County, Colorado.

          2.   At all times material hereto, Allstate was and is a company duly licensed and




                                              EXHIBIT B
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  authorized to conduct business in the State of Colorado.

           3.     The occurrences that give rise to Plaintiff’s claims against Allstate occurred in
  Colorado.
   
           4.     Pursuant to C.R.S.A. § 13-1-124(1)(a) and (b), this Court has personal jurisdiction
  over Allstate as the Defendant contracts, conducts business and has committed tortious acts within
  the State of Colorado.

          5.     Pursuant to the Art. 6 § 9 of the Constitution of the State of Colorado this Court has
  subject matter jurisdiction over this action because it involves a civil matter, and the amount in
  controversy exceeds $15,000.00.
   
          6.     Allstate’s registered agent is located within Denver County.

          7.     Pursuant to C.R.C.P. 98(c), venue is proper in this county, which Plaintiff
  designates as the place of trial of this action.
   
                                     GENERAL ALLEGATIONS
   
          8.     Plaintiff was a named insured of Allstate, under a policy of insurance which
  provided Underinsured Motorist (“UM”) and Uninsured Motorist (“UIM”) benefits, policy
  number 964 476 634, (the “Policy”).

           9.     Under the above-referenced policy of insurance, Defendant Allstate contracted to
  provide Plaintiff with UM/UIM coverage in the amount of $100,000.00 per person, $300,000.00
  per incident.
   
           10. Prior to the precipitating motor vehicle collision, Plaintiff paid an insurance
  premium to Allstate for the above-mentioned coverages and policy of insurance. Allstate accepted
  the premium payment with the promise that it would provide the coverages stated in the policy of
  insurance and in accordance with the requirements of Colorado law.
   
           11. On January 19, 2016, Plaintiff was seriously injured in a collision caused by the
  negligence of Patricia Duhalde near the intersection of N. Airport Blvd and E. 6th Avenue in
  Aurora, Colorado. Plaintiff was taken by ambulance to the emergency room following the
  collision and received treatment. Plaintiff continues to receive treatment caused by the collision.

           12. Ms. Duhalde provided information at the scene of the collision listed her insurer as
  Geico, policy number 4381731878. After contacting Geico, it was discovered that Ms. Duhalde’s
  policy was not in force on the date of loss.
   
           13. Therefore, Ms. Duhalde therefore did not carry any insurance coverage at the time
  of the collision through Geico, was not insured through any other liability policy that would
  provide coverage, and was an uninsured motorist as defined under the terms of Plaintiff’s UM/UIM
  contract with Defendant Allstate.


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           14. As such, Plaintiff is entitled, under the contract for uninsured/underinsured motorist
  benefits coverage with Defendant, to receive from Defendant Allstate any and all compensatory
  damages to which Plaintiff would have been entitled to recover from the at-fault tortfeasor Ms.
  Duhalde.
                                                                                                      
           15. Plaintiff has been unable to settle her uninsured motorist claim with Allstate to date
  due to Allstate’s hereinafter delineated breaches of contract and unreasonable delay and denial of
  benefits owed under the Policy.

                                    FIRST CLAIM FOR RELIEF
                            (Breach of Contract Against Defendant Allstate)
           16.     Plaintiff incorporates all allegations of this Complaint as if fully set forth herein.

           17.     The Policy constitutes a contract of insurance.

          18.     Plaintiff has duly performed or satisfied each and every covenant and/or condition
  of the Policy, or has been excused from so performing as a result of Defendant’s material breaches
  of the Policy.

           19.     By its actions, as described above, Allstate has breached the Policy.

           20.     Allstate’s breach has caused Plaintiff to suffer damages in amounts to be proven at
  trial.

                                 SECOND CLAIM FOR RELIEF
                 (Bad Faith Breach of Insurance Contract Against Defendant Allstate)

           21.     Plaintiff incorporates all allegations of this Complaint as if fully set forth herein.

           22.     Allstate, as Plaintiff’s insurer, owed her a duty of good faith and fair dealing.

         23.     Allstate breached its duty of good faith and fair dealing by numerous unreasonable
  acts and omissions, which include, without limitation, the following:

                 i.      Forcing Plaintiff to retain legal counsel to protect her rights, including
           recovery of amounts due under the Policy;

                ii.       Refusing to pay Plaintiff’s claim without conducting a reasonable
           investigation based upon all available information;

               iii.        Misrepresenting pertinent facts and insurance policy provisions relating to
           coverage;

                 iv.       Engaging in conduct prohibited by CRS §§ 10-1-101 and 10-3-1104(1)(h);




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                 v.         Failing to promptly pay Plaintiff’s insurance claim;

              vi.           Depriving Plaintiff of the benefits and protections of the contracts of
         insurance;

               vii.         Placing its interests above those of its insured;

               viii.        Other conduct to be discovered in the course of these proceedings.

          24.     Allstate knew that its conduct was unreasonable or recklessly disregarded the fact
  that its conduct was unreasonable.

         25.      Allstate’s bad faith breach of the Policy proximately has caused Plaintiff to suffer
  harm, losses, and damages, both economic and non-economic, in amounts to be proven at trial,
  including, by way of example but not limitation: deprivation of insurance benefits; emotional
  stress; anxiety; upset; anger; loss of enjoyment of life; physical harm and impairment; attorneys’
  fees and expenses incurred in challenging Allstate’s conduct; and other economic and non-
  economic harm, damages, and losses as may be proven at trial.

                                    THIRD CLAIM FOR RELIEF
                  (Violation of and Relief Pursuant to C.R.S. §§ 10-3-1115 and -1116
                                     Against Defendant Allstate)
         26.       Plaintiff incorporates all allegations of this Complaint as if fully set forth herein.

        27.      C.R.S. § 10-3-1115 forbids an insurer from unreasonably delaying or denying
  payment of a claim for benefits owed to or on behalf of a first-party claimant.

         28.       Plaintiff is a first-party claimant under § 10-3-1115.

         29.    Allstate has delayed and denied Plaintiff’s claim without a reasonable basis within
  the meaning of § 10-3-1115.

         30.    C.R.S. § 10-3-1116 provides that a first-party claimant whose claim has been
  unreasonably delayed or denied by an insurer may bring an action in a Colorado district court to
  recover reasonable attorneys’ fees and court costs, and two times the covered benefit.

          31.   Allstate’s actions, as described above, violate § 10-3-1115, as the insurer has
  unreasonably delayed and denied payment of benefits owing to Plaintiff under the terms of the
  Policy.

         32.     Plaintiff brings this claim to recover her reasonable attorneys’ fees and court costs,
  and two times the covered benefit, pursuant to § 10-3-1116.

           WHEREFORE, Plaintiff, Luz Buitrago, respectfully requests that judgment be entered
  in her favor and against Defendant, Allstate Fire and Casualty Insurance Company, as follows:

          a.          For compensatory economic and non-economic damages in amounts to be proved


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  at trial;

              b.     For all interest, statutory or moratory, allowed by law;

              c.     For reasonable attorneys’ fees and costs of suit herein; and

              d.     For such other and further relief as this Court deems just and proper.

         PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

              Dated this 19th day of June 2018.

                                                   Respectfully submitted,

                                                   JORDAN LAW

                                                   s/ Jason W. Jordan
                                                   Jason W. Jordan
                                                   Michael S. Douglass-Harris

                                                   MANNING LAW
                                                   Robert J. Manning

                                                   Attorneys for Plaintiff



 Plaintiff’s Address:
 2420 S. Fundy Circle
 Aurora, CO 80013




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